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                                           UNITED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                         Plaintiff,

 v.                                                                           Case No. 10-20705-5



 MAZEN MAZRAANI,

            Defendant .
 ___________________________________/

                             ORDER SETTING SENTENCING AND DEADLINE DATES
                                 AND IMPOSING OTHER RESPONSIBILITIES

             The Defendant having been convicted and referred to the Probation Department for

 the preparation of a Presentence Report (PSR), IT IS ORDERED as follows:

 1)          Sentence will be imposed on December 22, 2011 at 2:00 pm. If a custodial

             sentence is imposed, the defendant must be prepared to submit to custody on the

             day of sentencing.

 2)          On or before November 3, 2011 the PSR must be submitted to counsel by the

             Probation Officer for review and possible objections.

 3)          On or before November 17, 2011, any PSR objection must be stated to the

             Probation Officer (but cannot be filed on the docket). In stating an objection, counsel

             must use a format substantially similar to the attached Addendum. A purported

             PSR objection originating in a letter, an e-mail, a “sentencing memorandum,” etc.,

             will be rejected by the Probation Officer and returned to the party who provided it.

 4)          On or before December 1, 2011 the proposed final form of the PSR must be

             delivered to the court by the Probation Department.
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 5)          Not later than December 8, 2011, any request by either party for a departure or

             variance from the Guidelines range must be presented in the form of a motion with

             a supporting brief.

 6)          Not later than SEVEN DAYS before sentencing, any opposition to the other party’s

             motion for departure or variance motion must be filed.

 7)          A Sentencing Memorandum is optional,1 but due SEVEN DAYS before

             sentencing.

 8)          Counsel must provide a copy of any motion, opposition to a motion, and

             memorandum to the Probation Officer.

 9)          Allocution at sentencing will ordinarily not exceed five minutes for Defendant’s

             counsel, five minutes for Defendant and five minutes for government counsel.

 Date: September 6, 2011
                                                                          s/Robert H. Cleland
                                                                          ROBERT H. CLELAND
                                                                          United States District Judge




             1
        A sentencing memorandum is often superfluous in light of a motion for variance,
 and more important in the absence of such a motion. Memoranda are ordinarily
 reviewed by the court in the few days leading to sentencing. Do not use a sentencing
 memorandum as a substitute for a motion for a USSG departure or 18 USC
 §3553(a)(2) variance in sentence.
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                                                        SAMPLE
                                              PRESENTENCE REPORT ADDENDUM

 Defendant’s name:                                                            Page #:
 Docket #:                                                                    Paragraph #:
 Date:                                                                        Line(s) #:
 Objection #:

 Section I: Defendant’s/Government’s objection:




 _____________________________                                                _____________________________
 Attorney’s signature                                                         I affirm the truth of every factual statement above.
                                                                              Defendant’s signature

 Section II: Probation officer’s comments:




                                            Instructions for counsel
                      (Do not replicated instructions on the Addendum to be submitted)
 1)          Provide all objections directly to the Probation Officer, and do not file them on the docket.

 2)          Any objection or claim that a guideline or application note has been incorrectly applied or
             omitted must be accompanied by a clear explanation. Saying only that “the defendant
             disputes” a fact without providing an alternate explanation or reference to specific evidence
             is generally unavailing.

 3)          Do not use the Addendum format or the formal “objection” process to merely
             •      point out a minor factual error, i.e., those that have no effect on guideline
                    calculations nor forms the basis for a departure. Such claims may be presented to
                    the Probation Officer by letter or memorandum.
             •      argue a mechanical result or an alternate guideline calculation that depends on the
                    resolution of a challenged factual item.
             •      react to required PSR comments such as factors for possible departure. Such
                    matters may be presented to the court in the form of a sentencing memorandum.

 4)          When a party has presented a material objection that has not been accepted by the
             Probation Officer and remains for resolution by the court, any opposition must expressed in
             writing whether or not the court specifically orders a response. Always provide a copy to the
             Probation Officer. Responses should correspond to the numbering of the objection(s) and
             clearly explain the party’s position in reaction to the objection.

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